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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CATHOLIC LEGAL IMMIGRATION
NETWORK, INC., COMMUNITY LEGAL
SERVICES IN EAST PALO ALTO, KIND,
INC., d/b/a KIDS IN NEED OF DEFENSE,
and COALITION FOR HUMANE
IMMIGRANT RIGHTS,

                       Plaintiffs,

       v.
                                                     Case No. 1:20-cv-03812-APM
EXECUTIVE OFFICE OF IMMIGRATION
REVIEW, DAVID L. NEAL, in his official
capacity as DIRECTOR OF THE
EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, U.S. DEPARTMENT OF
JUSTICE, and MERRICK B. GARLAND, in
his official capacity as ATTORNEY
GENERAL OF THE UNITED STATES,

                       Defendants.

                  JOINT STATUS REPORT REGARDING SCHEDULING

       The parties submit this joint status report pursuant to the Court’s December 15, 2023

minute order:

       1.       On December 15, 2023, the Court lifted the stay in this matter. The Court ordered

Defendants to produce the administrative record on or before January 17, 2024, and both parties

to confer and propose a schedule for further proceedings on or before January 24, 2024.

       2.       On January 17, 2024, Defendants produced the administrative record.

       3.       The parties subsequently conferred and now propose the following schedule for

cross-motions for summary judgment:

•   Plaintiffs’ summary judgment motion: March 1, 2024

•   Defendants’ opposition and cross-motion for summary judgment: March 26, 2024

•   Plaintiffs’ opposition to cross-motion and reply in support of their motion: April 19, 2024


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•   Defendants’ reply in support of their cross-motion: May 3, 2024

       4.       Defendants also respectfully request that the Court hold the deadline for Defendants

to submit a responsive pleading to Plaintiffs’ complaint in abeyance pending a ruling on the

parties’ forthcoming motions for summary judgment. Plaintiffs do not oppose this request.



Dated: January 24, 2024                               Respectfully submitted,

 Counsel for Plaintiffs                               Counsel for Defendants

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